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                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

 Trevor Kelley,                                      Case No.: 2:17-cv-00595-EJF

                  Plaintiff,
                                                     NOTICE OF SETTLEMENT
 v.

 Arctic Circle Restaurants,                          Assigned to Magistrate Judge Evelyn J. Furse

                  Defendant.


        PLEASE TAKE NOTICE that, Plaintiff, Trevor Kelley, and Defendant, Arctic Circle

Restaurants, (collectively, the “Parties”), hereby give notice that the Parties’ have resolved and

agreed to settle this Action. As a result, the Parties anticipate filing dismissal papers within the

next thirty (30) days.

        In conformance with DUCiv.R 41-1, the Parties respectfully request the Court stay all

deadlines and other matters in this Action so the Parties can finalize settlement documents.

        RESPECTFULLY SUBMITTED on this 2nd day of November, 2017.

                                                              /s/ James K. Ord, III
                                                              JAMES K. ORD, III
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                                            CERTIFICATE OF SERVICE
       I hereby certify that on this 2nd day of November 2017 I electronically transmitted the
foregoing document to the Clerk’s Office using the CM/ECF system for filing and forward the
foregoing document via e-mail to the following recipients:


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Attorney for Defendant

/s/ Lisa Stamper*
(* I certify that I have the signed original of this document
which is available for inspection during normal business
hours by the Court or a party to this action)




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